Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 1 of 14




   EXHIBIT A
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 2 of 14



                                                                    1



                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT


                                        X

   NICOLE CHASE

                         Plaintiff,

               VS.                          NO. 3:18-cv-00683(VLB)

   NODINE'S SMOKEHOUSE, INC.,
   CALVIN NODINE TOWN OF
   CANTON, JOHN COLANGELO,
   ADAM GOMPPER, MARK J.
   PENNEY, AND CHRISTOPHER
   ARCIERO

                        Defendants.

                                        X
                                                  [1 COPY
                           DEPOSITION




                     THE VIDEO DEPOSITION OF CALVIN NODINE, taken

               on behalf of the Plaintiff, before Kevin

               Lombino, Registered Professional Reporter,

               Notary Public within the State of Connecticut

               Certificate Number 191, on the 7th day of

               February, 2019, at 10:41 a.m., at the offices of

               Robert Fortgang Associates, LLC, 573 Hopmeadow

               Street, Simsbury, CT.




                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 3 of 14



                                                                      145



 1       Q.    The Tuesday or the Wednesday would have been the

 2   ninth or the tenth?

 3       A.    Something like that.

 4       Q.    And did he call you or did he text you?

 5       A.    Called.

 6       Q.    Okay.     And what did he say about that?            What

 7   else did he say?

 8       A.    Nothing, he just, he just said that they are

 9   going to try to have you arrested and charges and

10       Q.    Okay.     What, if anything, did he say about the

11   fact that they had, that Nicole had made this complaint

12   about you?

13       A.    Nothing.

14       Q.    Did he express anger at you or sympathy for you?

15       A.    No, no, just --

16       Q.    Okay.

17       A.    Jeremy is very, he doesn't vary too much.

18       Q.    Okay.    And so after Jeremy told you that, what,

19   if anything, did you do?

20       A.    Waited for the police to call.

21       Q.    Okay.    Did you reach out to get a lawyer at that

22   point or after the police called?

23       A.    I'm not sure on the timeline on that one.

24       Q.    Okay.    So again, and I'm not -- the police

25   reports indicate that Officer Gompper reached out to you


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 4 of 14



                                                                     146



 1   on May 12 which would have been the Thursday I believe                or


 2   the -- and, and you had said you would come in on the

 3   13th.

 4             Do you recall being called by Officer Gompper?

 5       A.    Yes.

 6       Q.    And what, if anything, did he tell you at that

 7   point?

 8       A.    I remember getting a call from him.              I don't

 9   remember what we discussed, just I'll be in.

10       Q.    Okay.    Did he tell you what the complaint was or

11   what the issue was?

12       A.    I think he said something about it but I can't,

13   I can't remember it word for word.

14       Q.    Okay.    Now, and again the police report, I

15   don't -- the police report indicates that on May 13, you

16   called back to the police and said that you couldn't come

17   in that day because of a death?

18       A.    Yes.

19       Q.    Who died?

20       A.    My uncle.

21       Q.    Okay.    What's his name?

22       A.    Pete Hathaway.

23       Q.    Okay.    Was he local or was he out of state or

24   out of town?

25       A.    Down in, down around Storrs.


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 5 of 14



                                                                    148



 1       Q.    Were you there?

 2       A.    I have to check when, when

 3       Q.    Um-hmm, okay.

 4       A.    Yeah, who did what then.

 5       Q.    Did you have any problems of people coming in

 6   during that time?

 7       A.    No.

 8       Q.    Did you change the locks?           Did you change the

 9   locks?

10       A.    Yes.

11       Q.    How did you -- when you opened the deli

12   restaurant, how did you pick the location in Canton?

13       A.    I think it was Jeremy or Jason that told me on

14   one of his trips back and forth to Restaurant Depot, he

15   told me about that place.

16       Q.    Was it another restaurant that had closed?

17       A.    No, it was a bar.

18       Q.    Okay.    So but it was a bar that had closed?

19       A.    Yeah, bar restaurant.

20       Q.    Did you buy the fixtures from the bar and the

21   kitchen fixtures that were already in there?

22       A.    Yeah.

23       Q.    And had you had -- prior to being contacted by

24   Officer Gompper on May 12, had you had any interactions

25   with the Canton Police Department?


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 6 of 14



                                                                    149



 1         A.    Yes.

 2         Q.    Tell me about that.

 3         A.    We had another employee that I think it was her

 4   second day, something like that.           You know, you start off

 5   the day with a couple of 20s and this and that, and this

 6   was one sale or she did something in there, and the other

 7   girl went in, Candy went in to do it and the 20s were

 8   gone.

 9         Q.    Okay.

10         A.    So it's right off the bat, you know, it's first

11   thing in the morning you don't put 40 bucks in 20s and

12   the next person that cashes somebody out there is no 20s

13   in there which it didn't require that kind of change.                So

14   then she bought a sweat shirt to at least get one 20 back

15   in.   She realized she mess up so she bought a sweat

16   shirt - -

17         Q.    At the restaurant?

18         A.    -- at the restaurant and put --

19         Q.    Who was that?

20         A.    I forget her name.

21         Q.    And in the interview with the cops you mentioned

22   some, a woman named -- give me a minute.

23         A.    Um-hmm.

24         Q.    Jessica, a woman named Jessica.          You mentioned

25   to the cops when you went in for the interview, a woman


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 7 of 14



                                                                    150



 1   named Jessica who had worked I believe.             You said her

 2   friend, Jessica, was in trouble again.

 3             Do you remember what you were talking about?

 4       A.    I said that or did the police say that?

 5       Q.    You did.      You said her friend's in terrible

 6   again and then the police said Jessica.

 7             Do you know?       Does that ring a bell or no?

 8       A.    No.

 9       Q.    So you remember -- so who were the police

10   officers that responded?         Did you call the police when

11   that happened?

12       A.    Yes.

13       Q.    Was she arrested or not?

14       A.    No, she wasn't arrested.          We made her go out in

15   her car and get her money and she was let go.

16       Q.    Who was that?       Who was the officers that came,

17   if you know?

18       A.    That was the detective.

19       Q.    Colangelo?

20       A.    Colangelo, and I do believe it was the chief

21   that was there.

22       Q.    Okay.    Was that the first time you met the chief

23   and Colangelo?

24       A.    They had been into the restaurant before.

25       Q.    Okay, all right.        And how about Gompper, had you


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 8 of 14



                                                                    151



 1   met him before?

 2       A.    No.

 3       Q.    And so how many times had you seen Colangelo

 4   before, before the interview?

 5       A.    I don't know.       Like I said, only when he came

 6   into the restaurant get lunch or something.

 7       Q.    Okay.

 8       A.    Nothing.

 9       Q.    But he came in a couple of times before the

10   interview?

11       A.    Yeah, yeah.

12       Q.    Did you comp him?

13       A.    Hmm?

14       Q.    Did you comp him?

15       A.    No.

16       Q.    All right.      Between when you canceled the coming

17   out on the 13th and you came in with Attorney Moraghan on

18   the 18th, what other interactions, if any, did you have

19   with the Canton Police Department between that time, if

20   you remember?

21       A.    Yeah.    It was just the phone call to set up the

22   second time, and I told him I was going to get Dave in so

23   I'm not sure who took care of that.

24       Q.    And other than the police and Attorney Moraghan,

25   did you speak with anyone else about what was going on


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 9 of 14



                                                                       155



 1   low-level workers.

 2               Enemy implies there is somebody.           Is there

 3   somebody --

 4          A.   No, no big guys that are going to come take me

 5   out.

 6          Q    Okay, okay.     So anyone else is your enemy?

 7               Now, there came a point in the interview where

 8   Detective Colangelo had suggested you taking a polygraph?

 9          A.   Um-hmm.

10          Q.   Okay.     And so after the interview, the next

11   document that I have is a -- give me a minute.

12               Okay.     There is a police report from Officer

13   Gompper indicating that around June 14, that you had --

14   that you spoke to Detective Colangelo on June, on or

15   around June 14 about a polygraph you had taken that you

16   had not passed?

17          A.   Um-hmm.

18          Q.   So first of all, other than discussions with

19   your attorney which I don't want to know anything about,

20   did you have any communications with anybody about the

21   case between the date of the interview on June 18 and

22   June 14 when you called Detective Colangelo about the

23   polygraph?

24          A.   That I don't recall.

25          Q.   Okay.   So you don't have any recollection, again


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 10 of 14



                                                                     156



 1   I don't want to know about lawyers, but did you -- do you

 2   know whether you spoke to the police at any point?

 3        A.     I, I, I can't remember the dates on when I

 4   talked to the police.

 5        Q.     Okay.     Did -- after they contacted you about

 6   coming in for an interview, did Detective Colangelo ever

 7   come to the restaurant to look at the crime scene?

 8        A.     I don't believe so.

 9        Q.     Okay.     Did, did Detective Colangelo contact you

10   to ask about any information about other witnesses after

11   the, after the interview?

12        A.     Don't recall.

13        Q.     Okay, all right.      And again, except through

14   counsel, did you have any direct -- until the time that

15   you called in to talk to them about the polygraph --

16        A.     Um-hmm.

17        Q.     -- did you have any communications with

18   Detective Colangelo or Officer Gompper?

19        A.     That I can't remember.        There may have been one

20   call in there, I can't even remember what it was about.

21        Q.     Okay.   So tell me the circumstances of your

22   taking the polygraph and then calling Detective Colangelo

23   about it.

24                   MR. MORAGHAN:       I'm going to object and

25              instruct him not to answer.           This is absolutely


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 11 of 14



                                                                     159



 1   Calvin Nodine has decided that he will not submit to a

 2   law-enforcement polygraph examination under any

 3   circumstances.

 4              As we discussed at the police department, had he

 5   taken a law-enforcement polygraph and passed, that still

 6   would not have terminated the investigation.               If he had

 7   taken a law-enforcement polygraph and failed, it would in

 8   all likelihood had resulted in an arrest.               Therefore, as

 9   I had explained to him on numerous occasions, there is

10   absolutely no legal upside to him submitting to a

11   polygraph.

12              If you are able to obtain an arrest warrant for

13   Mr. Nodine, I would appreciate it if we could arrange to

14   self-surrender him.        Very truly yours, David A. Moraghan.

15              Mr. Nodine, is David A. Moraghan, was he your

16   attorney on June 19, 2017?

17        A.    I do believe so, yes.

18        Q.    Now, between June 19 and             withdrawn.

19              After June 19, did you hear             when was the next

20   time you heard from the police?

21        A.    Don't recall.

22        Q.    Okay.    How did you become aware that -- did

23   anyone, did Detective Colangelo or anyone call you

24   directly to tell you that Nicole Chase had been arrested?

25        A.    No.


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 12 of 14



                                                                         160



 1        Q     Okay.    So did you, if you can just answer this.

 2              So from whom did you learn that Nicole Chase had

 3   been arrested?

 4        A.    I would have to look into that.            It may have

 5   been Jeremy but I, I don't know.

 6        Q.    Well, was it from Attorney Moraghan?                 Did you

 7   learn from your counsel or from someone else?

 8        A.    I'm not sure.

 9        Q.    Okay.    And did you speak with Detective

10   Colangelo directly about her arrest?

11        A.    No.

12        Q.    Had you ever asked Detective Colangelo or

13   Officer Gompper to have her arrested?

14        A.    No.

15        Q.    Now, did there come a time where, again, looking

16   at the unemployment report on June 30, 2018 and it

17   indicates that you were contacted for an unemployment

18   hearing involving Nicole Chase.

19              Do you recall having been contacted about that?

20        A.    Yes.

21        Q.    All right.     And again according to the report,

22   it indicates that you had been contacted but after Nicole

23   Chase had given her statement that you were no longer on

24   the phone?

25        A.   I was on the phone.


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 13 of 14



                                                                     167



 1   as the Town of Canton.

 2              My next question is:         The police did not provide

 3   you with a copy of her statement, correct?

 4        A.    No.

 5        Q.    And did you ever receive any documentation at

 6   all from officers with the Canton Police Department?

 7        A.    No.

 8                    MS. MACCINI:      Okay, thank you.

 9   EXAMINATION BY MR. CHIMES:

10        Q.    Do you have a copy of Ms. Chase's statement not

11   through discovery in this case but through the

12   unemployment case with Kyle Rouleau?

13        A.    Yeah, it's, it's -- I think it, I think it came

14   from Kyles.

15        Q.    Well --

16        A.    I'm not sure.      I can find out and I can get the

17   dates.

18        Q.    So if you look at exhibit 44, the second to last

19   exhibit that we just did.

20        A.    Um-hmm.

21        Q.    It was attached to Nodine's Smokehouse's

22   attorney's submission to unemployment.

23              Is that what -- so your side submitted it in

24   Ms. Chase's unemployment, not in Mr. Rouleau's

25   unemployment.


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
Case 3:18-cv-00683-VLB Document 305-1 Filed 01/07/22 Page 14 of 14



                                                                     172



 1   STATE OF CONNECTICUT        )

 2                               )   ss:    WALLINGFORD

 3   COUNTY OF NEW HAVEN         )

 4

 5              I, Kevin Lombino, a Registered Professional

 6   Reporter and Notary Public within and for the State of

 7   Connecticut, do hereby certify that the within deposition

 8   of CALVIN NODINE was held before me on the 7th day of

 9   February, 2019.

10              I further certify that the witness was first

11   sworn by me to tell the truth, the whole truth and

12   nothing but the truth, and was examined by counsel, and

13   his testimony was recorded stenographically by me, it was

14   reduced to typewriting under my supervision, and I hereby

15   submit that the within contents of said deposition are

16   true and accurate to the best of my ability.

17              I further certify that I am not a relative of

18   nor an attorney for any of the parties connected with the

19   aforesaid examination, nor otherwise interested in the

20   testimony of the witness.

21              Dated at Wallj_ngfor07 Connecticut, the 24th day

22   of February, 2019.

23
                       Kevin Lomb              00191
24

25   (My commission expires October 31, 2021.)


                   GOLDFARB AND AJELLO, LLC (203) 972-8320
